Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 1 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 2 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 3 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 4 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 5 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 6 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 7 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 8 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 9 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 10 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 11 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 12 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 13 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 14 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 15 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 16 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 17 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 18 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 19 of 20
Case 2:09-cv-01901-TMG Document 10 Filed 10/05/09 Page 20 of 20
